                                              CAHILL GORDON & REINDEL LLP
                                                       32 OLD SLIP
                                                    NEW YORK, NY 10005
DANIEL R. ANDERSON           JONATHAN J. FRANKEL          TELEPHONE: (212) 701-3000      MEGHAN N. McDERMOTT          JOHN A. TRIPODORO
HELENE R. BANKS              ARIEL GOLDMAN                   WWW.CAHILL.COM              WILLIAM J. MILLER            GLENN J. WALDRIP, JR.
ANIRUDH BANSAL               PATRICK GORDON                    ___________               EDWARD N. MOSS               HERBERT S. WASHER
DAVID L. BARASH              JASON M. HALL                                               NOAH B. NEWITZ               MICHAEL B. WEISS
LANDIS C. BEST               STEPHEN HARPER                 1990 K STREET, N.W.          WARREN NEWTON §              DAVID WISHENGRAD
BRADLEY J. BONDI             WILLIAM M. HARTNETT         WASHINGTON, DC 20006-1181       DAVID R. OWEN                C. ANTHONY WOLFE
BROCKTON B. BOSSON           NOLA B. HELLER                    (202) 862-8900            JOHN PAPACHRISTOS            COREY WRIGHT
JONATHAN BROWNSON *          CRAIG M. HOROWITZ                                           LUIS R. PENALVER             ELIZABETH M. YAHL
DONNA M. BRYAN               TIMOTHY B. HOWELL        CAHILL GORDON & REINDEL (UK) LLP   KIMBERLY PETILLO-DÉCOSSARD   JOSHUA M. ZELIG
JOYDEEP CHOUDHURI *          DAVID G. JANUSZEWSKI          20 FENCHURCH STREET           SHEILA C. RAMESH
JAMES J. CLARK               ELAI KATZ                        LONDON EC3M 3BY            MICHAEL W. REDDY
CHRISTOPHER W. CLEMENT       JAKE KEAVENY                     +44 (0) 20 7920 9800       OLEG REZZY
LISA COLLIER                 BRIAN S. KELLEHER                  ___________              THORN ROSENTHAL
AYANO K. CREED               RICHARD KELLY                                               TAMMY L. ROY
PRUE CRIDDLE ±               CHÉRIE R. KISER ‡            WRITER’S DIRECT NUMBER         JONATHAN A. SCHAFFZIN         * ADMITTED AS A SOLICITOR IN
                                                                                                                      ENGLAND AND WALES ONLY
SEAN M. DAVIS                JOEL KURTZBERG                                              ANDREW SCHWARTZ
                                                                                                                       ± ADMITTED AS A SOLICITOR IN
STUART G. DOWNING            TED B. LACEY                                                DARREN SILVER                WESTERN AUSTRALIA ONLY
ADAM M. DWORKIN              MARC R. LASHBROOK                                           JOSIAH M. SLOTNICK
ANASTASIA EFIMOVA                                                                        RICHARD A. STIEGLITZ JR.      ‡ ADMITTED IN DC ONLY
                             ALIZA R. LEVINE
JENNIFER B. EZRING                                                                                                     § ADMITTED AS AN ATTORNEY
                             JOEL H. LEVITIN                                             ROSS E. STURMAN              IN THE REPUBLIC OF SOUTH AFRICA
HELENA S. FRANCESCHI         GEOFFREY E. LIEBMANN                                        SUSANNA M. SUH               ONLY
JOAN MURTAGH FRANKEL         BRIAN T. MARKLEY                                            ANTHONY K. TAMA

                                                           (202) 862-8910

                                                                                                             October 13, 2022


            BY ECF

            The Honorable Edgardo Ramos
            United States District Court
            Southern District of New York
            40 Foley Square
            New York, New York 10007

                                Re:      United States v. Trevor Milton, S1 21 Cr. 478 (ER)

            Dear Judge Ramos:

                    Trevor Milton, through his counsel, writes in support of the admissibility of the following
            documents: DX 89, 245, 246, 527, 533, 1435, 1472, 1476, and 1491. Defense counsel
            anticipates offering these documents into evidence during the trial on Thursday, October 13,
            2022. For the reasons below, the Court should admit these defense exhibits.

               I.        The Court Should Admit Defense Exhibits 89, 245, and 246 Because They Are
                         Relevant, Non-Hearsay Documents or Relevant Business Records.

                   Defense Exhibits 89, 245, and 246 should be admitted into evidence because they are
            relevant to, and highly probative of, Mr. Milton’s good faith defense.

                   Defense Exhibit 89 is a document containing minutes from a Nikola weekly leadership
            meeting held on October 18, 2017. As testimony has established, these meetings—and the
CAHILL GORDON & REINDEL LLP


                                              -2-
subsequent minutes thereof—were regularly conducted at Nikola. On page one of the minutes in
Defense Exhibit 89, Nikola’s Chief Engineer Kevin Lynk is recorded as saying about the Nikola
One: “Truck did commercial shoot, where it moved, last week with Phillips”—thus
demonstrating that Mr. Milton had good faith to believe that the video released by Nikola was
appropriate because the management team was aware of the circumstances.

       Similarly, Defense Exhibit 245 is an email from Chief Legal Officer Britton Worthen to
the Board of Directors and Trevor Milton, attaching Defense Exhibit 246 which are minutes of
the October 2017 meeting of the Board of Directors. Board meetings were regularly held at
Nikola in accordance with the company’s corporate governance obligations. Page three of the
minutes in Defense Exhibit 246 provides, under the “Marketing” subheading, “Phillips
commercial—truck moving, but not under our power”—thus demonstrating that Mr. Milton had
good faith to believe that the video released by Nikola was appropriate because Nikola’s Board
of Directors was aware of the circumstances.

        These exhibits are probative of Mr. Milton’s good faith. They show that other senior
officers and directors of the company, including Chief Legal Officer Worthen and the Board of
Directors, fully knew the circumstances about the Nikola One “moving” in the Phillips
commercial. Mr. Milton had a good faith belief that there was nothing inappropriate with the
depiction of the truck’s movement because the officers and directors of the company understood
the circumstances and did not object. United States v. White, 692 F.3d 235, 246 (2d Cir. 2012)
(“Evidence is relevant when it has any tendency to make a fact more or less probable than it
would be without the evidence and, unless an exception applies, all relevant evidence is
admissible.” (internal citations and quotations omitted)).

        These exhibits are not hearsay. Defense Exhibits 245 and 246 are admissible to show
their effect on Mr. Milton: He was copied on the cover email sent by Chief Legal Officer
Worthen (Defense Exhibit 245) that included the minutes stating, “Phillips commercial—truck
moving, but not under our power.” Reading this language would have had the effect of
providing notice to Mr. Milton that there was nothing improper about using the Nikola One in a
commercial, or posting additional footage from the third-party commercial shoot on Nikola’s
social media pages. United States v. Dupree, 706 F.3d 131, 136 (2d Cir. 2013) (“[A] statement
offered to show its effect on the listener is not hearsay.”).

        Alternatively, all three exhibits—Defense Exhibit 89, 245, and 246—are also admissible
as business records under Federal Rule of Evidence 803(6). Rule 803(6) has five components:
(1) the record must be “made at or near the time by—or from information transmitted by—
someone with knowledge;” (2) the record must be “kept in the course of a regularly conducted
activity of a business;” (3) making the record must have been a “regular practice of that activity;”
(4) the above three criteria must be shown by testimony or certification by a custodian or other
qualified witness; and (5) the opponent must not show that the document is untrustworthy. See
Fed. R. Evid. 803(6)(A)–(E). Rule 803(6) “favors the admission of evidence rather than its
CAHILL GORDON & REINDEL LLP


                                                  -3-
exclusion if it has any probative value at all.” United States. v. Kaiser, 609 F. 3d 556, 574 (2d
Cir. 2010) (internal quotation and citation omitted).

        As testimony and the documents demonstrate, it was a regular practice at Nikola to have
weekly leadership meetings, which also were referred to as Standing Scalability meetings, and
Board of Directors meetings in the course of the company’s business, and to keep minutes of
those meetings. Courts in this district repeatedly have held that similar minutes of meetings are
admissible as business records. See Busher v. Barry, No. 14-CV-4322 (NSR), 2019 WL
6895281, at *6–7 (S.D.N.Y. Dec. 18, 2019) (finding board minutes admissible under the
business records exception); Morgan Guar. Tr. Co. v. Hellenic Lines Ltd., 621 F. Supp. 198,
217–18 (S.D.N.Y. 1985) (holding that minutes of board of directors were business records where
it was a regular practice to keep those minutes, even though director who laid foundation was not
a custodian of those minutes).

 II.    The Court Should Admit Defense Exhibits 527, 1427, 1476, and 1491 Because They
        Are Highly Relevant, Non-Hearsay Documents or Fall Within a Hearsay Exception.

        Defense Exhibit 527

        Defense Exhibit 527 is a June 26, 2020 email chain between Mr. Milton, Nikola’s Chief
Legal Officer Britton Worthen, and Vince Caramella, Nikola’s Chief Marketing Officer. The
email chain discusses Mr. Worthen’s edits to a June 29, 2020 Nikola press release announcing
the opening of reservations for the Badger pickup truck. In the email chain, Mr. Milton wrote
“[h]ere are my changes to address Britton’s concerns.” The second page also has an earlier
email from Mr. Caramella stating “Britton – Need legal review/approval.”

        The government has pointed to numerous alleged misstatements by Mr. Milton regarding
the status of the Badger prototypes in the summer of 2020. The email chain is relevant and
probative of Mr. Milton’s state of mind because it demonstrates that Nikola’s Chief Legal
Officer reviewed a press release that contained, among other information, expected
specifications of the Nikola Badger. The email chain, which demonstrates Mr. Milton’s
willingness to change the language of a press release based on Chief Legal Officer Worthen’s
concerns, also bears directly on Mr. Milton’s good faith and state of mind.

       Defense Exhibit 527 is a business record under Rule 803(6). As part of its regular course
of business, Nikola maintained a process for drafting and reviewing press releases. Stephanie
Amzallag testified that Vince Caramella and Chief Legal Officer Worthen were involved in that
“process.” See Tr. Sept. 21, 2022 at 1335:16–1336:2.

       The email also is admissible under Rule 803(3), because it tends to disprove the state of
mind that the government must prove in this case, and that Mr. Milton intentionally tried to
mislead investors about the status of the Badger prototypes. See United States v. DiMaria, 727
CAHILL GORDON & REINDEL LLP


                                               -4-
F.2d 265, 270 (2d Cir. 1984) (holding that a defendant’s statement that “tended to disprove the
state of mind required for conviction” should have been admitted under 803(3)).

        Defense Exhibit 1472

        Defense Exhibit 1472 is a December 17, 2019 text message exchange between Mr.
Milton and Chief Legal Officer Worthen. In the text messages, Chief Legal Officer Britton
Worthen—after seeing Mr. Milton appear on Fox Business Network—wrote to Mr. Milton,
“great job!! Well done my friend”. Defense Exhibit 1472 is relevant and highly probative to Mr.
Milton’s good faith defense and state of mind because it demonstrates that Chief Legal Officer
Worthen provided positive feedback to Mr. Milton after he appeared on television, effectively
approving of Mr. Milton speaking publicly to promote Nikola. This exhibit shows that Mr.
Milton reasonably believed that his statements were consistent with the views of senior
executives at Nikola, and it further demonstrates that senior officers at Nikola were viewing his
media appearances.

        Defense Exhibit 1472 is not hearsay because the defense does not offer it for the truth of
the matter asserted. That is, the defense does not offer it prove that Mr. Milton in fact performed
well on television. Rather, the defense seeks to admit Defense Exhibit 1472 to demonstrate the
effect the message had on Mr. Milton and to provide notice to Mr. Milton that others were
viewing his media appearances and would react upon watching. See United States v. Dupree,
706 F.3d 131, 136 (2d Cir. 2013) (“[A] statement offered to show its effect on the listener is not
hearsay.”).

        Defense Exhibit 1476

       Defense Exhibit 1476 is an email from Mr. Milton to Steve Girsky, CEO Mark Russell,
CFO Kim Brady, and others, discussing the recorded call announcing the VTIQ merger. Mr.
Milton stated, “We are going to have to postpone this. No way to get legal to sign off on this and
everyone’s comments before 33.” This exhibit is highly relevant to Mr. Milton’s good faith
defense because it demonstrates that he was conscientiousness with respect to the need to
exercise care in public statements, including by relying on Nikola’s legal department to review
the company’s communications. The exhibit further refutes evidence presented by the
government that Mr. Milton acted cavalierly or without checking with others at the company.

       Defense Exhibit 1476 is not hearsay because the defense does not offer it for the truth of
the matter asserted. That is, the defense does not offer Defense Exhibit 1476 to show that, in fact,
there was literally no way that the legal department could have signed off in time. Rather, the
defense offers Defense Exhibit 1476 to demonstrate Mr. Milton’s desire to rely on the legal
department to review public statements.

        Defense Exhibit 1476 also is admissible under Rule 803(3) because it tends to disprove
the state of mind that the government must prove in this case. United States v. DiMaria, 727
CAHILL GORDON & REINDEL LLP


                                               -5-
F.2d 265, 270 (2d Cir. 1984) (holding that a defendant’s statement that “tended to disprove the
state of mind required for conviction” should have been admitted under Rule 803(3)).

        Defense Exhibit 1491

        Defense Exhibit 1491 is an email chain between Mr. Milton and Chief Legal Officer
Britton Worthen dated March 2, 2020 with the subject line “Okay with this language for social
media.” Mr. Milton emailed Mr. Worthen about a social media post regarding the potential
merger between Nikola and VTIQ asking: “Who is our SEC attorneys? [sic] I need approval on
stuff. I’d like to use this.” Mr. Worthen responded “just forward on.”

        The email communication is relevant because it demonstrates that Mr. Milton specifically
sought approval for “language for social media.” Worthen’s response, “Just forward on,” clearly
gave Mr. Milton tacit approval for his proposed language. This response and the corresponding
effect on Mr. Milton’s state of mind goes directly to his good faith.

        The email chain is not hearsay because it is not being admitted for its truth, that Mr.
Milton literally “needed” approval on “stuff like this,” but that Mr. Milton believed that he
needed approval. Mr. Milton’s inquiry about the identity of Nikola’s SEC attorneys has no truth
value but is merely a question. The Court admitted DX-1497, an email where Mr. Milton made a
similar statement “We need a good SEC attorney” over the government’s hearsay objection. See
Tr. Sept. 28, 2022 at 1931:2–1932:10.

III.    The Court Should Admit Defense Exhibits 533 and 1435 Because They Are
        Relevant, Non-Hearsay Documents or Fall Within a Hearsay Exception.

        Defense Exhibit 533

        Defense Exhibit 533 is a July 20, 2020 email from Nicole Rose to Vince Caramella
telling Mr. Caramella, in response to Elizabeth Fretheim’s email regarding concerns about the
TeslaCharts podcast, that there “was more context around each of the items on this list so in my
opinion they don’t come off quite as strong.” This exhibit is relevant to show that Ms. Rose did
not agree with Ms. Fretheim’s assessment of Mr. Milton’s TeslaCharts interview.

        This email chain is admissible as a business record under Rule 803(6). Mr. Milton’s
podcasts were reviewed in the regular course of Nikola’s business. Stephanie Amzallag testified
that Mr. Caramella was sometimes part of the team that reviewed things posted to social media
(as the TeslaCharts podcast was). See Tr. Sept. 21, 2022 1346:23–1346:2. Accordingly, the
review evidenced in this email is part of the regular course of Nikola’s business.
CAHILL GORDON & REINDEL LLP


                                                -6-
        Defense Exhibit 1435

       Defense Exhibit 1435 is an email exchange between Mr. Milton and Nicole Rose in
which Ms. Rose asks Mr. Milton if he needed anything for the JMac interview and whether she
should be present for the JMac interview. Mr. Milton responded that she should “feel free to
come up to my office and we can do them there” and that it “would be good to have you here for
them in case I need anything.” The transcript of the JMac interview is in evidence as GX-408T,
and the government alleges that Mr. Milton made misstatements during this interview regarding
the Badger pickup truck.

        This email exchange is highly relevant to Mr. Milton’s good faith defense, because the
plain language demonstrates that Mr. Milton did not intend to conceal or misrepresent anything.
To the contrary, Mr. Milton wanted a member of Nikola’s public relations team to be present
while he conducted one of the interviews at issue in this case. This email exchange bears
directly on Mr. Milton’s good faith and lack of criminal intent.

         Defense Exhibit 1435 is not hearsay because the defense does not offer it for the truth of
the matter asserted. That is, the defense does not offer the email to prove that Ms. Rose should
literally “feel free” and that it actually “would be good” for her to be present during the
interview. Rather, the defense offers Defense Exhibit 1435 to demonstrate that Mr. Milton
requested that she be present.

        Defense Exhibit 1435 also should be admitted to complete the record and in the interest
of fairness. The government moved the JMac podcast into evidence only at the close of its case.
Therefore, the defense did not have the opportunity to question any witness about the podcast, or
Mr. Milton’s process for preparing for or recording the podcast. Accordingly, the Court should
admit Defense Exhibit 1435 for purposes of completeness under Rule 106 because it ought “in
fairness . . . to be considered.” Fed. R. Evid. 106. The defense is not prohibited from offering
evidence under Rule 106 even though it did not offer such evidence contemporaneously at trial.
Fed. R. Evid. 106 (Advisory Committee Note) (“The rule does not in any way circumscribe the
right of an adversary to develop the matter on cross-examination or as part of his own case.”);
Phoenix Assocs. III v. Stone, 60 F.3d 95, 103 (2d Cir. 1995) (“While the wording of Rule 106
appears to require the adverse party to proffer the associated document or portion
contemporaneously with the introduction of the primary document, we have not applied this
requirement rigidly.”).

       The Court should admit DX 89, 245, 246, 527, 533, 1435, 1472, 1476, and 1491 for the
reasons discussed in this letter.
CAHILL GORDON & REINDEL LLP


                                     -7-
                                           Respectfully submitted,



                                           /s/ Bradley J. Bondi
                                           Bradley J. Bondi
                                           CAHILL GORDON & REINDEL LLP
                                           1990 K Street NW, Suite 950
                                           Washington, DC 20006
                                           (202) 862-8910
                                           BBondi@cahill.com

                                           Marc L. Mukasey
                                           MUKASEY FRENCHMAN LLP
                                           570 Lexington Avenue, Suite 3500
                                           New York, NY 10022
                                           (212) 466-6400
                                           Marc.Mukasey@mfsllp.com

                                           Counsel for Trevor Milton

cc:     Counsel of Record (by ECF)
